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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1294V
                                      (not to be published)

    ************************* *
                                           *
    JUDY HO and JASON PHUNG, on behalf of **
    their minor daughter, J.P.,            *               Filed: October 12, 2021
                                           *
                           Petitioners,    *
                                           *
                                           *               Decision by Stipulation; Damages;
    v.                                     *               Meningococcal Vaccine; Human
                                           *               Papillomavirus (“HPV”) Vaccine;
    SECRETARY OF HEALTH AND                *               Tetanus, diphtheria, and acellular
    HUMAN SERVICES,                        *
                                           *               pertussis (“Tdap”) Vaccine; Guillain-
                                           *               Barré syndrome (“GBS”).
                           Respondent.     *
                                           *
    ************************* *

Michael Firestone, Marvin Firestone, MD, JD, and Associates, San Mateo, CA, for Petitioners
Sarah Duncan, U.S. Department of Justice, Washington, DC, for Respondent

                              DECISION ON JOINT STIPULATION1

        On August 27, 2019, Judy Ho and Jason Phung (“Petitioners”) filed a petition, seeking
compensation under the National Vaccine Injury Compensation Program (“the Vaccine
Program”).2 Pet., ECF No. 1. Petitioners allege their daughter, J.P., suffered from Guillain-Barré
syndrome (“GBS”) as a result of the human papillomavirus (“HPV”); tetanus, diphtheria, and
acellular pertussis (“Tdap”), and meningococcal (“MCV”) vaccinations she received on May 18,
2017. See Stipulation ¶ 2, 4, dated October 12, 2021 (ECF No. 29); see also Petition.

1
 Although this Decision has been formally designated “not to be published,” it will nevertheless be posted
on the Court of Federal Claims’ website in accordance with the E-Government Act of 2002, 44 U.S.C. §
3501 (2012). This means the Decision will be available to anyone with access to the internet. As
provided by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the Decision’s inclusion of
certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party has fourteen
days within which to request redaction “of any information furnished by that party: (1) that is a trade secret
or commercial or financial in substance and is privileged or confidential; or (2) that includes medical files
or similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.”
Vaccine Rule 18(b). Otherwise, the Decision in its present form will be available. Id.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L.
No. 99-660, 100 Stat. 3755 (codified as amended at 42 U.S.C. §§ 300aa-10–34 (2012)) (hereinafter
“Vaccine Act” or “the Act”). All subsequent references to sections of the Vaccine Act shall be to the
pertinent subparagraph of 42 U.S.C. § 300aa.
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       Respondent denies “that the HPV, Tdap, and MCV vaccines caused J.P.’s GBS or any
other injury or her current condition.” See Stipulation ¶ 6. Nonetheless, both parties, while
maintaining their above-stated positions, agreed in a stipulation filed October 12, 2021 that the
issues before them can be settled and that a decision should be entered awarding Petitioner
compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
is reasonable. I therefore adopt it as my decision in awarding damages on the terms set forth
therein.

       The stipulation awards:

       1. A Lump Sum

           A lump sum of $175,000.00, which amount represents reimbursement of a lien for
           services rendered on behalf of J.P., in the form of a check payable jointly to petitioners
           and Department of Health Care Services, mailed to

               Third Party Liability and Recovery Division
               PO Box 997421, MS 4720
               Sacramento, CA 95899
               DHCS Account Number C92413655E-VAC03

           Petitioners agree to endorse this check to Department of Health Care Services.

       2. An Annuity

       The remainder of damages shall be paid in the form of an annuity contract, which shall be
purchased as soon as practicable after entry of judgment. Accordingly, pursuant to 42 U.S.C. §
300aa-15(f)(4), I order Respondent to purchase, and take ownership of, an annuity contract in the
amount of $45,000.00,3 as described below:

       Each Life Insurance Company must meet the following criteria:

       1. Have a minimum of $250,000,000 of capital and surplus, exclusive of any mandatory
          security valuation reserve; and

       2. have one of the following ratings from two of the following rating organizations:
          a) A.M. Best Company: A++, A+, A+g, A+p, A+r, or A+s;
          b) Moody’s Investor Service Claims Paying Rating: Aa3, Aa2, Aa1, or Aaa;
          c) Standard and Poor’s Corporation Insurer Claims-Paying Ability Rating: AA-, AA,
             AA+, or AAA;


3
 To satisfy the conditions set forth herein, in Respondent’s discretion, Respondent may purchase one or
more annuity contracts from one or more life insurance companies.
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           d) Fitch Credit Rating Company, Insurance Company Claims-Paying Ability Rating:
              AA-, AA, AA+, or AAA.

The Secretary of Health and Human Services shall purchase an annuity contract from the Life
Insurance Company for the benefit of J.P., pursuant to which the Life Insurance Company will
agree to make payments periodically to J.P. as described in paragraph 10 of the attached
Stipulation. This award represents compensation for all damages that would be available under 42
U.S.C. § 300aa-15(a).

        I approve a Vaccine Program award in the requested amount set forth above to be made to
Petitioners. In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk
of the Court is directed to enter judgment herewith.4

       IT IS SO ORDERED.

                                                              s/ Katherine E. Oler
                                                              Katherine E. Oler
                                                              Special Master




4
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly filing notice
renouncing their right to seek review.
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